Case No. 1:16-cr-00284-PAB     Document 33     filed 06/29/17   USDC Colorado   pg 1
                                       of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Action No. 16-cr-00284-CMA

UNITED STATES OF AMERICA,
       Plaintiff,
 v.
1. DONALD ILEY

      Defendant.




                     CORRECTED ATTACHMENT A
           GOVERNMENT’S SENTENCING STATEMENT (Docket No. 32)



       Attached here, please find “The Agreement and Final Agency Order”

 referenced as Attachment A in the Government’s Sentencing Statement (Docket

 No. 32) (“2010 Order”). This replaces the incorrectly scanned version of the

 document attached to the Government’s Sentencing Statement.

       Dated this 29th day of June, 2017.

                                        ROBERT C. TROYER
                                        Acting United States Attorney

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Case No. 1:16-cr-00284-PAB        Document 33       filed 06/29/17    USDC Colorado       pg 2
                                          of 2




                               CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of June 2017, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all counsel of record in this case.




                                            By:    J. Chris Larson
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